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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

___________________________________
                                    )
                                    )
UNITED STATES OF AMERICA            )
                                    )
v.                                  )                          No. 19-cr-10082-DPW
                                    )
XIAONING SUI                        )
                  Defendant         )
                                    )
                                    )
___________________________________ )

     JOINT MOTION TO CONDUCT SENTENCING BY VIDEO CONFERENCING

       The parties, by and through their respective counsel, hereby respectfully request this

Honorable Court, pursuant to United States District Court for the District of Massachusetts

General Order 20-12, to conduct the May 18, 2020 sentencing hearing by video teleconference.

       As grounds and reasons therefor, the parties respectfully submit that that it is unlikely that

the COVID-19 pandemic and the related travel bans will end prior to the May 18, 2020 sentencing

date, or that Ms. Sui, a Canadian resident, will be able to travel internationally from Canada to the

District of Massachusetts and then be able to return to Canada without the risk of being quarantined.

See Public Health Agency of Canada, GOVERNMENT OF CANADA CANADA.CA (2020),

https://www.canada.ca/en/public-health/services/diseases/2019-novel-coronavirus-

infection/latest-travel-health-advice.html#a3 (last visited Apr 9, 2020) (requiring quarantine of

individuals traveling from the United States). Pursuant to General Order 20-12, Chief Judge

Saylor authorized this Honorable Court to conduct sentencing hearings via video teleconference

for a period of 90 days based on the finding that “felony sentencings under Rule 32 of the

Federal Rules of Criminal Procedure cannot be conducted in person in the District of




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Massachusetts without seriously jeopardizing public health and safety.” The parties respectfully

submit there is no reason to delay the sentencing in this case. Furthermore, allowing the sentencing

to proceed via video conference will obviate the difficulties of arranging international travel,

including special parole, during this difficult time and in the immediate aftermath of the pandemic.

Courts have widely adopted the use of video conferencing for sentencing proceedings in related

cases, see United States v. Sidoo et. al., 19-cr-10080-NMG, Dkt. 1004, and other cases in the

District of Massachusetts, see e.g., United States v. Sanchez Bernabe, 19-cr-10151- LTS, Dkt. 47;

United States v. Santilit, 20-cr-10038-IT, Dkt. 29. Finally, such a proceeding would be consented to

by the defendant.

        WHEREFORE, the parties respectfully request the instant motion be allowed.


 Respectfully submitted,                             Respectfully submitted,
 XIAONING SUI                                        ANDREW E. LELLING
                                                     United States Attorney

 By: /s/ Martin G. Weinberg                          By: /s/ Eric S. Rosen
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Dated: April 13, 2020




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                                CERTIFICATE OF SERVICE

       I, Martin G. Weinberg, hereby certify that on this date, April 13, 2020, a copy of the
foregoing documents has been served, via ECF, upon Assistant U.S. Attorney Eric Rosen.

                                                     /s/ Martin G. Weinberg
                                                     Martin G. Weinberg




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